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Arletter

To whom it may concern

My name is Rwabukumba Aimable and lama doctor/physician trained from the Medical School of the
National University of Rwanda | five in France since 2000,

i know Jean Leonard Teganya for having been in the same class at the Medical School from October
4991 until April 1994, when we were third year students. | must specify that at the time | was the
Students’ Representative for our class and one of my objectives was to act as intermediary between the
students and the professors on one hand, and the authorities of the Medical School on another hand:

When the events that plunged Rwanda into mourning broke out in April 1994, all the students across
the country were on Easter break. However, our class had an important exam (Semiotics) scheduled

right after the end of these holidays.

Considering the importance of this exam to a medical student, a number of students decided to cut
short their vacations and come back to prepare for this exam. That is how Mr Teganya and | found
ourselves In Butare at that time. We lived in the residences reserved for medical students and located

near the Butare University teaching Hospital.

As the massacres spread throughout the entire country, but particularly in Butare, and because there
was an affluence of wounded people at the University Hospital in need of doctors, medical students in
their last year took over to care for the injured. They quickly found themselves overwhelmed and ~
resorted to asking us, their little brothers, for help. That is how we found ourselves at the hospital taking
care of a fot of injured people every day for about two months. During that time, | interacted regularly
with Mr Teganya both inside and outside the hospital. It’s around the end of May 1994 that we left each

other to depart from Butare.

During all the time we were together (day and night everyday), | never saw Mr Teganya behave
inappropriately towards the patients that we cared for or towards people we came across outside the
hospital, including university students of the Tutsi ethnic group and had been hunted down by the
killers. | never heard Mr. Teganya hold hateful speech or threats towards anyone. On. ihe contra ry, he
conderaned with determination everything that was happening in the country.

| did not leave the country like Mr. Teganya who found refuge in Congo after the events; | went back to
studying at the National University of Rwanda, which reopened its dqors in 1995, and graduated in
1999. During that entire time, several investigations took place at the National University of Rwanda as

well as at the University Hospital.

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Those investigations were meant to find out who took part in the killings that happened at the National
University of Rwanda and at the University Hospital of Butare. | never heard the name of Teganya Jean
Leonard questioned by the investigations led by students who survived the events.

| solemnly attest the accuracy of the statement | made here and | am available for any further

information.
Done in Paris on 06/16/2016

Aimable Rwabukumba,

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CERTIFICATE OF TRANSLATION

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I, Sarah A bravanell: , hereby swear that I am fluent in the French and the

English languages and that the attached English translation is an accurate
translation of the original French document.

Se

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Date

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